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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK, et al.,

                  Plaintiffs,

 v.                                       No. 20-cv-2340(EGS)

 DONALD J. TRUMP, in his
 official capacity as President
 of the United States, et al.,

                  Defendants.


                                  ORDER


      On September 27, 2020, the Court preliminarily enjoined

Defendants from enforcing four Postal Policy Changes that the

United States Postal Service (“USPS” or “Postal Service”)

announced and implemented in June and July 2020: (1) the removal

of high-speed sorting machines nationwide; (2) the prohibition

of “‘late trips’ and ‘extra trips’”; (3) the “Expedited to

Street / Afternoon Sortation” initiative; and (4) the decision

to change the “USPS policy of treating election mail and

political mail marked as marketing mail on an expedited First-

Class basis.” Mem. Op., ECF No. 52 at 5-8; Order, ECF No. 51. On

October 5, 2020, Defendants filed a Motion for Clarification

regarding three aspects of the Court’s Order. Mot. Clarification

(“Defs.’ Mot.”), ECF No. 54. On October 12, 2020, Plaintiffs

filed their Opposition, ECF No. 56; and on October 16, 2020,
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Defendants filed their Reply, ECF No. 57. The Motion is ripe for

the Court’s adjudication.

     First, Defendants request that “this Court clarify that its

Order prospectively enjoins the Postal Service from removing

mail sorting machines from service, but that it does not require

the Postal Service to return disassembled machines into service

(something that may not be possible).” Defs.’ Mot., ECF No. 54

at 4. Plaintiffs oppose this request as inconsistent with this

Court’s Order and “with instructions from other courts that have

likewise enjoined USPS practices in recent weeks.” Pls.’ Opp’n,

ECF No. 56 at 3. Plaintiffs also argue that Defendants have made

no showing that “it would be impossible or impractical to

restore specific sorting machines to service in Plaintiffs’

jurisdictions,” for example, those machines that were “covered

with a tarp, or otherwise roped off.” Id. at 4 (citing Coradi

Decl., ECF No. 12-34 ¶ 7). In reply, Defendants state they

“agree with Plaintiffs that this Court may clarify that its

requirement regarding machines applies to the extent that ‘if it

is determined that it is necessary to add processing capability

to fulfill [USPS’s] service commitments with regard to Election

Mail, available processing equipment will be returned to

service,’ Clarifying Operational Instructions, at 3, ECF No. 50,

consistent with the orders of other district courts.” Defs.’

Reply, ECF No. 57 (citing Order ¶ 3, ECF No. 81, Washington v.

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Trump, No. 20-cv-3127 (SAB) (E.D. Wash. Sept. 17, 2020); Joint

Stipulation to Stay Case in Light of Settlement Agreement, ECF

No. 38, Bullock v. USPS, No. 20-cv-0079 (BMM) (D. Mont. Oct. 14,

2020)).

     Second, Defendants request that the Court’s order to treat

Election Mail marked as Marketing Mail on an expedited First-

Class basis does not require USPS to transport such mail by air.

Defs.’ Mot., ECF No. 54 at 5. Plaintiffs do not object to

Defendants’ request “[t]o the extent Defendants can comply with

the Court’s injunction and treat all election mail in accordance

with First Class delivery speeds without relying on air

transport,” but argue that “there is no basis for the Court to

make any categorical statement that its Order never requires

delivery of election mail by air.” Pls.’ Opp’n, ECF No. 56 at 5-

6. In reply, Defendants clarify that “the only harm to Postal

Service operations comes from requiring Marketing Mail sent by

election officials or related entities to voters to travel by

air (which would be a significant operational change, and

potentially impossible at this late date just prior to the

election), because Marketing Mail is an entirely separate class

of mail to which different service standards apply.” Defs.’

Reply, ECF No. 57 at 3. “[A]ll ballots sent by voters to their

election officials are First-Class Mail, and they will travel by



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air, rather than trucks, . . . so that they can complete their

journey within the published service standards.” Id.

     Third, Defendants “request that this Court clarify that the

Postal Service is not required to treat Political Mail in the

same manner as Election Mail, i.e., ‘mailed as marketing mail on

an expedited First-Class basis.’” Defs.’ Mot., ECF No. 54 at 9-

10. Plaintiffs do not oppose this request. Pls.’ Opp’n, ECF No.

56 at 7-8.

     “[T]here is no Federal Rule of Civil Procedure specifically

governing ‘motions for clarification.’” United States v. Philip

Morris USA Inc., 793 F. Supp. 2d 164, 168 (D.D.C. 2011). “The

general purpose of a motion for clarification is to explain or

clarify something ambiguous or vague, not to alter or amend.”

Id. “Although such a motion cannot open the door to ‘re-

litigat[ing] a matter that the court has considered and

decided,’ Sai v. Transp. Sec. Admin., No. 14-cv-403, slip op. at

5 (D.D.C. Aug. 19, 2015), ECF No. 74 (citation omitted), courts

in this Circuit have encouraged parties to file motions for

clarification when they are uncertain about the scope of a

ruling, see United States v. Volvo Powertrain Corp., 758 F.3d

330, 344 (D.C. Cir. 2014); Barnes v. Dist. of Columbia, 289

F.R.D. 1, 12–13 (D.D.C. 2012), and entertaining such motions

seems especially prudent if the parties must implement the

ruling at issue at subsequent stages of the litigation.” All. of

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Artists & Recording Cos. v. Gen. Motors Co., 306 F. Supp. 3d

413, 418-19 (D.D.C. 2016).

     The Court concludes that Defendants have met the threshold

requirements for seeking clarification, insofar as the Court’s

Order is reasonably susceptible to differing interpretations.

     Accordingly, the Court hereby ORDERS that the Court’s

Order, ECF No. 51, is clarified to reflect the following:

          (1) if any post office, distribution center,
          or other postal facility will be unable to
          process Election Mail for the November 2020
          election in accordance with First Class
          delivery standards because of USPS’s removal
          and decommissioning of sorting machines from
          service, available processing equipment will
          be restored to service to ensure that USPS can
          comply with its prior policy of delivering
          Election Mail in accordance with First Class
          delivery standards;
          (2) Defendants are not required to ship
          Election Mail entered as Marketing Mail by any
          particular means (such as by air), but must
          employ measures to expedite the handling of
          all Election Mail, which may include moving
          them by air when such a method is consistent
          with practices and policies used in past
          elections; and
          (3) Defendants are not required to treat
          Political Mail, which is defined as mail sent
          by political candidates, political action
          committees, and similar organizations that
          engage in issue advocacy or to advocate for
          candidates   or   other   things,   such   as
          initiatives, that may appear on the ballot,
          that is mailed as Marketing Mail on an
          expedited First-Class basis.



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     It is FURTHER ORDERED that Defendants are directed to file

a status report by no later October 23, 2020 at 5:00 PM

informing the Court of its efforts to comply with this Court’s

instructions here and with its previous Order, ECF No. 51.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          October 22, 2020




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